Case 8:17-cv-00667-DFM Document 109 Filed 10/18/18 Page 1 of 2 Page ID #:988



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     KELI PARKER
13
                                 IN UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                                      Case No.: 8:17-CV-00667-JLS(DFM)
16
     KELI PARKER,
17
                                                      STIPULATION FOR DISMISSAL
                   Plaintiff,
18                                                    WITHOUT PREJUDICE
     v.
19
     PETERS & FREEDMAN, LLP, et al.,
20
                    Defendants.
21

22
            Plaintiff Keli Parker and Defendant Peters & Freedman, LLP (“P&F”), by and
23
     through undersigned counsel, hereby stipulate that all claims and defenses asserted in this
24
     action be dismissed without prejudice against P&F.
25
            It is further stipulated that Plaintiff shall have thirty (30) days from the date of the
26
     Court’s Order dismissing P&F without prejudice to file her Motion for attorneys’ fees
27
     and costs in this matter.
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Case 8:17-cv-00667-DFM Document 109 Filed 10/18/18 Page 2 of 2 Page ID #:989



 1          Respectfully submitted this 18th day of October 2018.
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      PRICE LAW GROUP, APC                    PETERS & FREEDMAN, L.L.P.
 3

 4    By: /s/ David A. Chami                  By: /s/ Jeffrey W. Speights
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10    KELI PARKER
11

12                              ECF SIGNATURE CERTIFICATION
13          Pursuant to Local Rule 5-4.3.4, I, David A. Chami, hereby certify that the content
14   of this document is acceptable to Jeffrey W. Speights, counsel for Defendant Peters &
15   Freedman, L.L.P., and I have obtained Mr. Speight’s authorization to affix his electronic
16   signature to this document.
17                                             PRICE LAW GROUP, APC
18                                             /s/ David A. Chami
19
                                   CERTIFICATE OF SERVICE
20
21          I hereby certify that on October 18, 2018, I electronically filed the foregoing with

22   the Clerk of the Court using the ECF system, which will send notice of such filing to all

23   attorneys of record in this matter. Since none of the attorneys of record are non-ECF

24   participants, hard copies of the foregoing have not been provided via personal delivery or

25   by postal mail.

26                                             PRICE LAW GROUP, APC

27                                             /s/ Florence Lirato

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